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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


___________________________________________

ADMIRAL INSURANCE COMPANY,                                            Case No.:

       Plaintiff,                                                     CIVIL ACTION

v.                                                        COMPLAINT FOR DECLARATORY
                                                                  JUDGMENT
VERSAILLES MEDICAL SPA, LLC,
MARIE SAADE,
DENNIS A. BOUBOULIS, and
ROBIN NYE,

      Defendants.
___________________________________________

                     COMPLAINT FOR DECLARATORY JUDGMENT

       The Plaintiff, Admiral Insurance Company (“Admiral”), by and through its undersigned

counsel, hereby files this Complaint for Declaratory Judgment against Defendants, Versailles

Medical Spa, LLC, Marie Saade, Dennis A. Bouboulis, and Robin Nye (together referred to herein as

“the Versailles Insureds”), and states as follows:

                                  NATURE OF THE ACTION

       1.      This is an action for declaratory judgment pursuant to 28 U.S.C. §2201 and Rule 57

of the Federal Rules of Civil Procedure.

       2.      In this declaratory action, Admiral seeks a declaration of its rights and obligations as

to its insureds, the Versailles Insureds, under its insurance policy in connection with an underlying

tort case currently pending in the Superior Court of the State of Connecticut, Judicial District of

Stamford-Norwalk at Stamford, which is entitled Lillian Voigt v. Robin Nye, RN, Versailles Medical


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Spa, LLC, Marie Saade, and Dennis A. Bouboulis (the “Underlying Action”).

       3.       Admiral issued Claims-Made Medical Spa Professional Liability Policy. No.

EO000033665-02 to Versailles Medical Spa, LLC for the policy period of May 17, 2017 to May 17,

2018. A copy of the Policy is attached hereto as Exhibit A.

       4.       The Policy affords coverage, among other things, for Professional Liability, subject to

a limit of $1 million each claim and $3 million in the aggregate, subject to a $2,500 per claim

deductible.

       5.       Admiral has been providing a defense to the Versailles Insureds in the Underlying

Action pursuant to a reservation of rights.

       6.       Admiral has learned that there is no coverage under the Policy because the underlying

claim was first made against the Versailles Insureds prior to the policy period of Admiral’s Policy.

       7.       Accordingly, a dispute as to coverage, including whether Admiral owes the Versailles

Insureds a defense in the Underlying Action, exists.

       8.       Admiral hereby seeks a declaration that it does not have a duty to defend or indemnify

the Versailles Insureds in the Underlying Action.

                           PARTIES, JURISDICTION AND VENUE

        9.      Plaintiff, Admiral, is a Delaware corporation with its principal place of business in

Scottsdale, Arizona.

       10.      Upon information and belief, Defendant, Versailles Medical Spa, LLC, is a State of

Connecticut-registered LLC, with its principal place of business located in Connecticut.

       11.      Upon information and belief, Defendant, Marie Saade, is a resident of the State of

Connecticut.


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          12.     Upon information and belief, Defendant, Dennis A. Bouboulis, is a resident of the

State of Connecticut.

          13.     Upon information and belief, Defendant, Robin Nye, is a resident of the State of

Connecticut.

          14.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332, §2201, and

§2202 because: (i) there is an actual controversy between parties; (ii) the amount in controversy

exceeds $75,000, exclusive of interest and costs; and (iii) the matter is between citizens of different

states.

          15.     Venue is proper in the District of Connecticut pursuant to 28 U.S.C. §1391 because

this complaint is based upon an underlying action that is currently pending in state court in the

District.

                                           BACKGROUND

            16.   In the Underlying Action, Underlying Plaintiff, Lillian Voigt, has asserted that the

Versailles Insureds provided medical and spa services, and supervised Defendant Nye, who provided

Intense Pulse Light (IPL) treatment and subsequent care to the Plaintiff Voigt between August 2016

and January 2017.

            17.   Underlying Plaintiff Voigt further alleged that, in August 2016, she received IPL

treatment for brown spots on her legs from the Versailles Insureds.

            18.   After the Procedure, Voigt’s legs allegedly were red, burning, and bleeding.

            19.   In a September 29, 2016 email from Voigt to Insureds, Voigt stated: “I would like to

discuss my legs with you and Marie. They are completely discolored. I will attach more photos. It

has been 5 weeks today since the procedure. I am appalled at your lack of concern. You have not

answered my emails about which lights you have, what the company has said about scaring or what I


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should be doing to help the healing process. Obviously, my legs were severally burned. I would

have expected you to take some responsibility for it and to have helped me. They were incredibly

painful for 4 weeks. I would like to be reimbursed for the procedure and for all of the expenses I

have incurred taking care of my legs this far and the ones going forward. I am happy to come in or

speak to you or on the phone if you are not comfortable emailing.”

        20.    On September 30, 2016, Voigt met with Defendant Saade, owner of Versailles

Medical Spa, to discuss Voigt’s concerns with the treatment she received as well as the condition of

her legs. Between October 7, 2016 and January 30, 2017, Versailles Medical Spa provided

continuing treatment to Voigt, including twenty-one treatments of the marks on her legs caused by

the initial procedure.

       21.     A copy of the complaint in the Underlying Action is attached hereto as Exhibit B.

       22.     The Policy contains the following pertinent provisions:

       SECTION I. INSURING AGREEMENTS

       COVERAGE A. PROFESSIONAL LIABILITY

       We will pay on behalf of the Insured those amounts, in excess of the PL Deductible and
       subject to the Limit of Liability for Professional Liability shown on the Declarations, which
       the Insured becomes legally obligated to pay as Damages and Claim Expenses which directly
       result from a Professional Incident taking place within the Policy Territory, subsequent to the
       retroactive date shown in the Declarations and prior to the expiration or termination date of
       this Policy, for which a Claim is first made against the Insured during the Policy Period and
       reported to us in writing during the Policy Period or any applicable Extended Reporting
       Period, as described in SECTION IX, EXTENDED REPORTING PERIOD.

       *       *         *

       SECTION III. THE COMPANY'S RIGHTS AND DUTIES.

       We have the right and duty to defend and pay on behalf of the Insured any Claim Expenses
       directly resulting from any covered Claim to which this Policy applies and will do so even if
       the allegations of the Claim arc groundless, false or fraudulent including the right to appoint
       counsel to defend the Insured. We may make such investigation of any Claim as we deem

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expedient. Our right and duty to defend ends when we have used up the applicable Limit of
Liability in the payment of Damages and/or Claim Expenses or have tendered the applicable
Limit of Liability to a court of competent jurisdiction. We have no obligation or duty to
defend any Claim for which coverage is excluded or not afforded by this Policy and we are
not obligated to pay any Claim Expenses incurred by the Insured in the defense of any Claim
not covered by this Policy.

*       *      *

E.      Claim means:

        1.     A written demand received for money or services by any Insured resulting
               from a Professional Incident, Sexual Abuse and Molestation, Network
               Security and Data Privacy Wrongful Act, or Media Wrongful Act;

        2.     Service of a Suit, or

        3.     Related Claims.

        *      *       *

        EXCLUSIONS APPLICABLE TO ALL INSURING AGREEMENTS

We shall not be liable to defend, pay, indemnify or reimburse the Insured with respect to any
Claim or Event, based upon, resulting from, arising out of, in consequence of or in any way
in connection with or involving, directly or indirectly:

A. Prior Knowledge

        1.     Any actual or alleged Claim, Event, fact, circumstance, subject, decision,
               transaction, situation or cause which has been reported, noticed or identified
               to any other insurance carrier, third party administrator or claims handler
               under any other insurance policy, application or agreement.

        2.     Any actual or alleged Claim or, Event, fact, circumstance, subject, decision,
               transaction, situation or cause of which the person signing the Application for
               this Policy or any of the Insured's current, former or future director, Chief
               Executive Officer, Chief Medical Officer, Chief Operating Officer, Chief
               Financial Officer, Chief Technology Officer, Chief Privacy Officer,
               President, or equivalent position was aware prior to the effective date of this
               Policy or any other Policy issued by us if such Claim, Event, fact,

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                        circumstance, subject, decision, transaction, event, situation or cause could
                        reasonably have been expected to give rise to a Claim or Event.

                3.      Any actual or alleged Claim or Event committed or which took place in
                        whole or in part before the retroactive date shown on the Declarations,

                4.      Any prior or pending litigation, Claim, Event, fact, circumstance, subject,
                        decision, transaction, situation, cause, proceeding or investigation made,
                        presented, transmitted, filed or commenced on or before the effective date of
                        this Policy, or alleging or derived from the same litigation, Claim, or Event,
                        fact, circumstance, subject, decision, transaction, situation, cause, proceeding
                        or investigation underlying or alleged therein . . . .

                *       *       *

                SECTION X. REPORTING OF CLAIMS, EVENTS AND INCIDENTS

                5.      All notices of Claims, Events or Incidents, must provide the following
                        information; the potential claimant(s) by name or description, the names of
                        the Insureds involved, the time, date, location and the description of the
                        specific incident which forms the basis of the Claim, Event or Incident
                        including the nature or the potential Damages arising from such specific
                        Claim or Incident, the circumstances by which the Insured first became aware
                        of the specific Claim, Event or Incident; and the reason the Insured
                        reasonably believes the specific incident is likely to trigger coverage under
                        this Policy.

See Policy (Exhibit A) at pages 1, 3, 4, 10 and 17 of 18.

FOR A FIRST CLAIM FOR DECLARATORY JUDGMENT THAT THE POLICY DOES
                 NOT COVER THE UNDERLYING ACTION

        23.     Admiral adopts and incorporates by reference the allegations contained in paragraphs

1 through 22 as if fully set forth herein.

        24.     The Policy only provides coverage if its Insuring Agreement is complied with, its

provisions satisfied, and its Exclusions inapplicable.

        24.     The Policy’s Insuring Agreement was not complied with here, its provisions were not


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satisfied here, and an Exclusion applies.

        25.     Accordingly, Admiral is entitled to a Declaratory Judgment that The Versailles

Insureds are not entitled to defense or indemnity coverage here.

  FOR A SECOND CLAIM FOR DECLARATORY JUDGMENT THAT THE POLICY
    DOES NOT PROVIDE COVERAGE BASED ON THE POLICY’S INSURING
                  AGREEMENT NOT BEING SATISFIED

        26.     Admiral adopts and incorporates by reference the allegations contained in paragraphs

1 through 22 as if fully set forth herein.

        27.     The Policy’s Insuring Agreement only provides coverage “for which a Claim is first

made against the Insured during the Policy Period”.

        28.     The Claim at issue was first made against The Versailles Insureds via the September

29, 2016 email.

        29.     The Policy’s Insuring Agreement is not satisfied because the Claim was not first made

against the Insured during the Policy Period; rather, it was first made prior to the Policy Period.

        30.     Accordingly, Admiral is entitled to a Declaratory Judgment that The Versailles

Insureds are not entitled to defense or indemnity coverage here.

   FOR A THIRD CLAIM FOR DECLARATORY JUDGMENT THAT THE POLICY
      DOES NOT PROVIDE COVERAGE BASED ON THE POLICY’S PRIOR
                       KNOWLEDGE EXCLUSION

        31.     Admiral adopts and incorporates by reference the allegations contained in paragraphs

1 through 22 as if fully set forth herein.

        32.     The Policy’s Prior Knowledge Exclusion states: “We shall not be liable to defend,

pay, indemnify or reimburse the Insured with respect to any Claim or Event, based upon, resulting

from, arising out of, in consequence of or in any way in connection with or involving, directly or


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indirectly: A. Prior Knowledge.”

       33.     The Versailles Insureds had prior knowledge of the Claim because the Claim at issue

was first made to them via the September 29, 2016 email.

       34.     The Policy’s Prior Knowledge Exclusion applies because The Versailles Insureds had

prior knowledge of the Claim.

       35.     Accordingly, Admiral is entitled to a Declaratory Judgment that The Versailles

Insureds are not entitled to defense or indemnity coverage here.

  FOR A FOURTH CLAIM FOR DECLARATORY JUDGMENT THAT THE POLICY
  DOES NOT PROVIDE COVERAGE BASED ON THE POLICY’S REPORTING OF
            CLAIMS PROVISION NOT BEING COMPLIED WITH

       36.     Admiral adopts and incorporates by reference the allegations contained in

paragraphs 1 through 22 as if fully set forth herein.

       37.     The Policy’s Reporting of Claims provision requires that the insureds provide,

“the circumstances by which the Insured first became aware of the specific Claim.”

       38.     The Versailles Insureds failed to provide the circumstances by which they first

became aware of the Claim, including because they failed to inform Admiral of the September

29, 2016 email when they reported the Claim to Admiral.

       39.     Accordingly, Admiral is entitled to a Declaratory Judgment that The Versailles

Insureds are not entitled to defense or indeminity coverage here.




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       WHEREFORE, ADMIRAL respectfully requests that this Honorable Court enter a judgment

declaring that:

       A.         Admiral has no duty to defend The Versailles Insureds in connection with the

                  Underlying Action.

       B.         Admiral has no duty to indemnify The Versailles Insureds in connection with the

                  Underlying Action.

       C.         Admiral may immediately cease from providing a defense to the Versailles Insureds.

       D.         Award Admiral such other relief as may be warranted.



       Dated: April 27, 2020

                                               Respectfully submitted,

                                               /s/ ct 27130
                                               ___________________________
                                               Paul G. Roche, ct 27130
                                               Litchfield Cavo LLP
                                               82 Hopmeadow Street,| Suite 210
                                               Simsbury, CT 06089
                                               Telephone: (860) 413-2713
                                               Facsimile: (860) 413-2801
                                               E-mail: roche@litchfieldcavo.com
                                               Attorney for Admiral Insurance Company




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